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     Federal Defender
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     Telephone: (559) 487-5561
5
     Attorney for Defendant
6    MOISES COVARRUBIAS GARCIA
7
8                                    IN THE UNITED STATES DISTRICT COURT
9                                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                         )   No. 1:11-cr-000446 LJO SKO
                                                       )
12                     Plaintiff,                      )   STIPULATION AND [PROPOSED] ORDER TO
                                                       )   CONTINUE STATUS CONFERENCE
13     v.                                              )   HEARING
                                                       )
14   MOISES COVARRUBIAS GARCIA,                        )   DATE: May 7, 2012
     ISMAEL CORRAUBIAS GARCIA,                         )   TIME: 1:00 P.M.
15                                                     )   JUDGE: Hon. Sheila K. Oberto
                       Defendants.                     )
16                                                     )
17             IT IS HEREBY STIPULATED by and between the parties hereto through their respective
18   counsel that the status conference in the above-captioned matter now set for March 19, 2012, may be
19   continued to May 7, 2012 at 1:00 p.m. before Magistrate Sheila K. Oberto.
20             This continuance is at the request of defense counsel as defense needs additional time in
21   preparation of this case. Both counsel for defendants have engaged in plea negotiations with the
22   government. Both defense counsel expect to receive an offer in the near future. The additional time is
23   needed to meet with the clients, who are both housed in Lerdo, to discuss the forthcoming plea agreements
24   and other matters on the case. The requested continuance is with the intention of conserving time and
25   resources for both parties and the court. All counsel will be available on the requested date and anticipate
26   the case will resolve in the near future.
27             The parties agree that the delay resulting from the continuance shall be excluded in the interests
28   of justice, including but not limited to, the need for the period of time set forth herein for effective defense
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1    preparation and plea negotiation purposes pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and 3161(h)(7)(B)(i)
2    and (iv).
3                                                             Respectfully submitted,
4                                                             BENJAMIN B. WAGNER
                                                              United States Attorney
5
6    DATED: March 12, 2012                         By:        /s/ Elana S. Landau
                                                              ELANA S. LANDAU
7                                                             Assistant United States Attorney
                                                              Attorney for Plaintiff
8
9                                                             DANIEL J. BRODERICK
                                                              Federal Defender
10
11   DATED: March 12, 2012                          By:       /s/ Charles J. Lee
                                                              CHARLES J. LEE
12                                                            Assistant Federal Defender
                                                              Attorney for Defendant
13                                                            MOISES COVARRUBIAS GARCIA
14
15   DATED: March 12, 2012                          By:       /s/ Steven L. Crawford
                                                              STEVEN L. CRAWFORD
16                                                            Attorney at Law
                                                              Attorney for Defendant
17                                                            ISMAEL COVARRUBIAS GARCIA
18
19
20                                                 ORDER
21         IT IS SO ORDERED. Time is excluded pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and
22   3161(h)(7)(B)(i) and (iv).
23
24   IT IS SO ORDERED.
25   Dated:      March 12, 2012                       /s/ Sheila K. Oberto
     ie14hj                                   UNITED STATES MAGISTRATE JUDGE
26
27
28

     Garcia: Stipulation and Proposed Order               2
